     Case 4:21-cv-02591 Document 3 Filed on 08/10/21 in TXSD Page 1 of 3

                        UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION

                               NOTICE OF CASE FILING

           Date Case filed:     August 9, 2021

              Style of Case:    John Burke, et al.
                                v.
                                Ocwen Loan Servicing, LLC, et al.

              Case number:      4:21−cv−02591

   District Judge assigned:     Judge Alfred H. Bennett

           Nature of Claim:     Complaint NOS 220

Please write or type the civil action number on the front of all letters and documents.
Address all mail to:
                         United States District Clerk's Office
                                     P.O. Box 61010
                                Houston, TX 77208−1010

The case will be handled in the ordinary course of the Court's work. Writing to the
Court to ask about your case will only SLOW the process.


Date: August 10, 2021
                                                                  Nathan Ochsner, Clerk
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                        UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION




                       NOTICE OF THE RIGHT TO TRY
                A CIVIL CASE BEFORE A MAGISTRATE JUDGE


     With the consent of all the parties, a United States Magistrate Judge may preside
in a civil case, including jury trial and final judgment.
     The choice of trial before a magistrate judge is entirely yours. Tell only the clerk.
Neither the judge or magistrate judge will be told until all the parties agree.
     The district judge to whom your case is assigned must approve the referral to a
magistrate judge.
     You may get consent forms from the clerk.


                                                                    Nathan Ochsner, Clerk
     Case 4:21-cv-02591 Document 3 Filed on 08/10/21 in TXSD Page 3 of 3

                       UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION

John Burke, et al.                         §
                                           §
versus                                     §        Civil Action 4:21−cv−02591
                                           §
Ocwen Loan Servicing, LLC, et al.          §



              Consent to Proceed Before a Magistrate Judge

     All parties to this case waive their right to proceed before a district judge and
consent to have a United States Magistrate Judge conduct all further proceedings,
including the trial and judgment. 28 U.S.C. § 636(c).




                                Order to Transfer
               This case is transferred to United States Magistrate Judge




              to conduct all further proceedings, including final judgment.




________________________                    __________________________________
Date                                        United States District Judge
